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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

JEA,
              Plaintiff,

vs.                                                 Case No. 3:04-cv-1313-J-99MCR

EL PASO MUNICIPAL ENERGY, LLC.,

           Defendant.
_____________________________________/

                                        ORDER

       THIS CAUSE is before the Court on Defendant’s Motion to Strike, Request for

Compliance with Local Rule 3.01(a) or Motion to Dismiss (Doc. 4) filed January 18,

2005. In this motion, Defendant takes the position that Plaintiff’s complaint to vacate an

arbitration award (Doc. 1) must be stricken because the proper procedure for seeking

relief from an arbitration award is to file a motion seeking to vacate the award. The

Court agrees filing a motion, rather than a complaint, is the proper procedure. See O.R.

Securities v. Professional Planning Associates, 857 F.2d 742, 746 (11th Cir. 1988)

(holding the Federal Arbitration Act provides that the proper procedure “is for the party

seeking to vacate an arbitration award to file a Motion to Vacate in the district court”).

Accordingly, after due consideration, it is

       ORDERED:

       Defendant’s Motion to Strike, Request for Compliance with Local Rule 3.01(a) or

Motion to Dismiss (Doc. 4) is GRANTED in part. Plaintiff’s complaint (Doc. 1) is

stricken and Plaintiff is ordered to file an appropriate motion (which complies with Local

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Rule 3.01(a)) no later than February 7, 2005. Defendant shall file a response to the

motion ten days thereafter.



      DONE AND ORDERED in Chambers in Jacksonville, Florida this 19th day of

January, 2005.




                                                       MONTE C. RICHARDSON
                                                UNITED STATES MAGISTRATE JUDGE

Copies to:

Counsel of Record




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